Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 1 of 32




                Exhibit 12
                  Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 2 of 32




OnePlus – Smartphone (Models having cameras with IR sensitivity. See Product List at end
for models)

Infringement of the ‘413 patent
Claim 1                Evidence
1. A mobile            The OnePlus smartphone is a mobile communication device that has a
communication device   computational means and an output means.
comprising a
computational means    For example, the OnePlus smartphone is a mobile communication device that
and output means,      includes a system-on-chip (SoC), which includes a main processor as a
                       computational device, and a touchscreen as an output device.

                        For example, the OnePlus 8 Pro includes a Qualcomm Snapdragon SoC CPU
                        device and an AMOLED touchscreen display:




                                                      [1]




                                                                                                   1
                  Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 3 of 32




                                                                                      [1]




                                                                                    [1]
further comprising a     The OnePlus smartphone further includes a module incorporating a non-
module incorporating a   contact temperature sensor for receiving from an external surface
non-contact              electromagnetic radiation in the infrared spectral range.
temperature sensor for


                                                                                                 2
                    Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 4 of 32




receiving from an         For example, the OnePlus 8 Pro smartphone includes an IR camera, (5MP
external surface          Color Filter Camera) which is a smartphone module that is capable of sensing
electromagnetic           infrared electromagnetic radiation from an external source in a non-contact
radiation in the          manner, thereby being operational as a non-contact temperature sensor.
infrared spectral
range,




                          [1]




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Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 5 of 32




      [2]




                                                                    4
                  Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 6 of 32




                        [2]
such non-contact        The non-contact temperature sensor of the OnePlus smartphone generates a
temperature sensor      signal.
generates a signal.
                        For example, the IR camera in the OnePlus 8 Pro model generates an IR
                        image signal e.g. in which certain materials appear see-through because IR
                        radiation penetrates them.




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Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 7 of 32




      [3]




                                                                    [3]




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Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 8 of 32




                                                                    [3]




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Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 9 of 32




      [2]




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                  Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 10 of 32




OnePlus – Smartphones (Models having cameras with IR sensitivity. See Product List at end
for models)

Infringement of the ‘413 patent
Claim 8                    Evidence
8. A mobile communication  The OnePlus smartphone is a mobile communication device that has a
device comprising a        computational means and an output means.
computational means and
output means, further      For example, the smartphone is a mobile communication device that
comprising:                includes a system-on-chip (SoC), which includes a main processor as a
                           computational device, and a touchscreen as an output device.

                             For example, the OnePlus 8 Pro includes a Qualcomm Snapdragon SoC
                             CPU device and an AMOLED touchscreen display:




                                                                                          [1]




                                                                                                   9
                  Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 11 of 32




                                                                                            [1]
a module for receiving and     The OnePlus smartphone further includes a module for receiving and
measuring a magnitude of       measuring a magnitude of electromagnetic radiation, wherein the
electromagnetic radiation,     electromagnetic radiation is generated by a source that is not part of the
wherein said                   mobile communication device.
electromagnetic radiation is
generated by a source that     For example, the central module of the smartphone (e.g. OnePlus 8 Pro)
is not being part of the       is a module to which the Qualcomm Snapdragon SoC device and
mobile communication           touchscreen are communicatively coupled during manufacturing of the
device,                        smartphone. The main board of the smartphone includes an IR camera (5
                               MP Color Filter Camera), which is capable of sensing and measuring
                               infrared electromagnetic radiation from a source that is not part of the
                               smartphone, e.g. a source in a location at which the IR camera is aimed.




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Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 12 of 32




                                                                 Main
                                                                 Module




           [4]




                                                                          11
Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 13 of 32




                                                                     [1]




                                                                           12
Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 14 of 32




                                [4]




                                                                     13
                  Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 15 of 32




                             [4]
and such module              The OnePlus the module of the smartphone includes at least one antenna
comprising at least one      adapted for operation in the radio frequency range.
antenna adapted for
operation in the radio       For example, the central module includes an RF antenna for cellular
frequency range.             communications by the smartphone. The RF antenna is positioned at one
                             corner of the central module.




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Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 16 of 32




                              Anten
                              na




           [5]



                                                                     15
                 Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 17 of 32




OnePlus – Smartphones (Models having cameras with IR sensitivity. See Product List at end
for models)

Infringement of the ‘413 patent
Claim 9                 Evidence
9. A method of          The OnePlus smartphone performs a method of measuring the magnitude of
measuring the           electromagnetic radiation in a selected location.
magnitude of
electromagnetic         For example, when the IR camera (5MP Color Filter Camera) is used to take
radiation in a selected an IR image the smartphone measures the magnitude of infrared
location by a mobile    electromagnetic radiation received by the IR camera from the location at
communication device,   which the IR camera is aimed.
consisting of the steps
of:                     For example, the OnePlus 8 Pro smartphone includes an IR camera, which is
                        a smartphone module that is capable of measuring the magnitude of
                        infrared electromagnetic radiation from a location at which the camera is
                        aimed.




                         [1]


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Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 18 of 32




       [2]




                                                                     17
                   Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 19 of 32




                            [2]
providing a mobile          The OnePlus smartphone further provides a mobile communication device
communication device        that comprises a housing and a digital imaging sensor having a first field of
that comprises a            view. The sensor is for generating a digital image of the selected location.
housing, a digital
imaging sensor having a     For example, the OnePlus smartphone includes a housing for enclosing a
first field of view, such   digital image sensor, among other components of the smartphone. The
sensor is for generating    digital image sensor has a field of view (e.g. outwards from the rear of the
a digital image of the      smartphone) and is for generating a digital image of a subject or location at
selected location,          which it is aimed.

                            For example, the OnePlus 8 Pro has 48 MP Sony IMX689 image sensor
                            within a housing.




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Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 20 of 32




       [1]




                                                                     [1]


                                                                           19
                 Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 21 of 32




                         [1]
a computational means,   The OnePlus smartphone further provides a computational means.

                         For example, the OnePlus 8 Pro includes a Qualcomm Snapdragon SoC CPU
                         device that includes a main processor for performing computational
                         processing.




                                                                                             20
                 Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 22 of 32




                                                                                       [1]
and an output means for   The OnePlus smartphone further provides an output means for conveying
conveying information     information to an operator.
to an operator;
                          For example, the OnePlus 8 Pro includes an AMOLED touchscreen display
                          for conveying information to an operator.




                                                                                                  21
                  Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 23 of 32




                                                                                         [1]
incorporating into the     The OnePlus smartphone incorporates into the housing a module that is
housing a module that is   responsive to intensity of the electromagnetic radiation in a selected
responsive to intensity    spectral range.
of the electromagnetic
radiation in a selected    For example, the OnePlus 8 Pro smartphone includes an IR camera, (e.g. the
spectral range;            5MP Color Filter Camera) which is a smartphone module that is capable of
                           measuring the magnitude of electromagnetic radiation in the infrared range
                           and is enclosed in the smartphone’s housing.




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Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 24 of 32




       [1]




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Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 25 of 32




       [2]




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                  Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 26 of 32




                          [2]
positioning the housing   As directed by marketing and operational instructions, a user of the OnePlus
in a vicinity of the      smartphone positions the housing in a vicinity of the selected location when
selected location;        using the the IR camera.

                          For example, the OnePlus 8 Pro smartphone includes an IR camera (5MP
                          Color Filter Camera). In order to take an IR photo of a subject, the
                          smartphone needs to be positioned so that the IR camera is in the vicinity of
                          the subject and pointed at the subject.




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                    Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 27 of 32




                           [2]
generating by the          The module of the OnePlus smartphone generates a signal representative of
module a signal            the electromagnetic radiation.


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                  Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 28 of 32




representative of the
electromagnetic          For example, the IR camera in the OnePlus 8 Pro model generates a signal
radiation;               responsive to the infrared electromagnetic radiation received from the
                         location or subject at which the IR camera is pointed. For example, the IR
                         camera generates an IR image signal e.g. which when processed and
                         displayed certain materials appear see-through because IR radiation
                         penetrates them.




                         [3]




                                                                                                      27
                   Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 29 of 32




                                                                                           [3]
processing said signal to   The OnePlus smartphone processes the signal to extract information related
extract information         to intensity of the electromagnetic radiation in the selected location.
related to intensity of
the electromagnetic         For example, the IR camera in the OnePlus 8 Pro model generates an IR
radiation in the selected   image signal that is representative of the infrared electromagnetic radiation
location, and               in the location at which the IR camera is pointed. The main processor in the
                            SoC device processes the signal to extract information of the infrared
                            electromagnetic radiation and provides the image to the user on the display
                            of the smartphone.




                                                                                             [1]




                                                                                                        28
Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 30 of 32




       [2]




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                  Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 31 of 32




                           [2]
sending said information   The OnePlus smartphone sends the information to the output means for
to the output means for    conveying the information to the operator.
conveying the
information to the         For example, the SoC device sends the information to the touchscreen
operator.                  display, which causes the display to display the IR image captured with the
                           IR camera.




                                                                                                  [2]


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                    Case 6:23-cv-00327-ADA Document 10-12 Filed 06/24/23 Page 32 of 32




Product List:

OnePlus 8 Pro


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                                                                                                            31
